Case 2:24-cr-00103-MWF Document 24 _ Filed 12/04/24 Pagelof4 Page ID #:216

Name and address:

Nicholas P. Silverman
1330 Connecticut Avenue, NW
Washington, DC 20036

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA CASE NUMBER
Plaintiff(s), 2:24-cr-00103-MWF
Vv.
APPLICATION OF NON-RESIDENT ATTORNEY
ROGER KEITH VER TO APPEAR IN A SPECIFIC CASE
Defendant(s), PRO HAC VICE

INSTRUCTIONS FOR APPLICANTS

(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, the certification in Section I, and have the
designated Local Counsel sign in Section III. Space to supplement responses is provided in Section IV. The applicant must also attach a
Certificate of Good Standing (issued within the last 30 days) from every state bar to which he or she is admitted: failure to do so will be
grounds for denying the Application. Scan the completed Application, together with any attachment(s), to a single Portable Document
Format (PDF) file.

(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
(using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.

SECTION I - INFORMATION

Silverman, Nicholas P.
Applicant's Name (Last Name, First Name & Middle Initial) check here if federal government attorney 1
Steptoe LLP
Firm/Agency Name
1330 Connecticut Avenue, NW +1 202 429 3000 1 202 429 3902
Telephone Number Fax Number
Street Address
Washington, DC 20036 nsilverman@steptoe.com
City, State, Zip Code E-mail Address

I have been retained to represent the following parties:
Roger Keith Ver _] Plaintiff(s) [x] Defendant(s) [[] Other:
[_] Plaintiff(s) []] Defendant(s) [| Other:

Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

Name of Court Date of Admission Active Member in Good Standing? (if not, please explain)

District of Columbia 9/11/2015 Yes
US District Court, District of Columbia 6/6/2022 Yes
US Court of Appeals, District of Columbia 1/11/2023 Yes

G-64 (10/23) APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE Page 1 of 3
Case 2:24-cr-00103-MWF Document 24 Filed 12/04/24 Page2of4 Page ID#:217

List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):

Case Number Title of Action Date of Application Granted / Denied?
24-cr-00391 United States v. Mekail 7/17/2024 Granted

If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:

Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

SECTION II - CERTIFICATION

I declare under penalty of perjury that:

(1) All of the above information is true and correct.

(2) Iam not a resident of the State of California. I am not regularly employed in, or engaged in
substantial business, professional, or other activities in the State of California.

(3) Iam not currently suspended from and have never been disbarred from practice in any court.

(4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
Criminal Procedure, and the Federal Rules of Evidence.

(5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
of this Court and maintains an office in the Central District of California for the practice of law, in
which the attorney is physically present on a regular basis to conduct business, as local counsel
pursuant to Local Rule 83-2.1.3.4.

Dated December 3, 2024 Nicholas P. Silverman
Applicant's Name (please type or print)

t-EC fa =

Applicant's Signature

G-64 (10/23) APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE Page 2 of 3
Case 2:24-cr-00103-MWF Document 24 Filed 12/04/24 Page3of4 Page ID#:218

SECTION III - DESIGNATION OF LOCAL COUNSEL

Ashwin Ram

Designee's Name (Last Name, First Name & Middle Initial)

Steptoe LLP

Firm/Agency Name

633 W 5th St. (213) 439-9400 (213) 439 9599
Suite 1900 Telephone Number Fax Number
Street Address aram@steptoe.com

Los Angeles, CA 90071 Email Address

City, State, Zip Code 277513

Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present ona regular basis to conduct business.

Dated December 3, 2024 Ashwin Ram
Designee’s a (please L i
Designee's Signature Ue

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IP NECESSARY)

Section I - Information: Continued list of all state and federal courts to which the applicant has been admitted: Virginia; Admitted
10/16/2014; No - voluntarily resigned license and no longer a member.

G-64 (10/23) APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE Page 3 of 3

Case 2:24-cr-00103-MWF Document 24 Filed 12/04/24 Page4of4 Page ID #:219

On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
the District of Columbia Bar does hereby certify that

Nicholas Paul Silverman

was duly qualified and admitted on September 11, 2015 as an attorney and counselor entitled to
practice before this Court; and is, on the date indicated below, an Active member in good
standing of this Bar.

In Testimony Whereof,

T have hereunto subscribed my
name and affixed the seal of this
Court at the City of
Washington, D.C., on December 02, 2024.

t
JULIO A. CASTILLO
Clerk of the Court

on / ’
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David Chu - Director, Membership
District of Columbia Bar Membership

For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
memberservices@dcbar.org.

